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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   – – – – – – – – – – – – – – – –X

   UNITED STATES OF AMERICA,                               FINAL ORDER OF FORFEITURE

          - against -                                      19-CR-582 (JMA)                    FILED
                                                                                              CLERK
   AVENTURA TECHNOLOGIES, INC,
                                                                                   4:03 pm, Jul 08, 2024
                             Defendant.                                               U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF NEW YORK
   – – – – – – – – – – – – – – – –X                                                   LONG ISLAND OFFICE

                  WHEREAS, on or about March 19, 2024, Aventura Technologies, Inc (the

   “defendant”), entered a plea of guilty to the Counts One, Two, and Three of the above-

   captioned Indictment, charging violations of 18 U.S.C. §§ 1349 and 545;
                                                                            -
                  WHEREAS, on April 2, 2024, this Court entered a Preliminary Order of

   Forfeiture (“Preliminary Order”) pursuant to Rule 32.2 of the Federal Rules of Criminal

   Procedure, finding that all right, title and interest in the following assets (collectively, the

   “Forfeited Assets”):

                  (a)     all funds seized on or about November 7, 2019, from Chase Bank
                          Account No. 438190964, held in the name of or for the benefit of
                          AVENTURA TECHNOLGIES, INC., plus any and all accrued interest
                          and all proceeds traceable thereto;

                  (b)     all funds seized on or about November 7, 2019, from Chase Bank
                          Account No. 3043875656, held in the name of or for the benefit of
                          AVENTURA TECHNOLOGIES, INC., Plus any and all accrued
                          interest and all proceeds traceable thereto;

                  (c)     all funds seized on or about November 7, 2019, from Citibank, N.A.
                          Account No. 6780865984, held in the name of the Northport Group,
                          Inc., an entity owned and controlled by FRANCES CABASSO, plus
                          any and all accrued interest and all proceeds traceable thereto;

                  (d)     all funds seized on or about November 7, 2019, from Citibank, N.A.
                          Account No. 4984748270, held in the name of or for the benefit of
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                      FRANCES CABASSO, plus any and all accrued interest and all
                      proceeds traceable thereto;

                (e)   all funds seized on or about November 7, 2019, from Citibank, N.A.
                      Account No. 4984748262, held in the name of or for the benefit of
                      FRANCES CABASSO, plus any and all accrued interest and all
                      proceeds traceable thereto;

                (f)   all funds seized on or about November 7, 2019, from Bank of America
                      Account No. 00728738132, held in the name of or for the benefit of
                      FRANCES CABASSO, plus any and all accrued interest and all
                      proceeds traceable thereto;

                (g)   all funds seized on or about November 7, 2019, from Bank of America
                      Account No. 009423049536, held in the name of or for the benefit of
                      FRANCES CABASSO, plus any and all accrued interest and all
                      proceeds traceable thereto;

                (h)   all funds seized on or about November 7, 2019, from Merrill Lynch
                      Investment Account No. 8J1-11866, held in the name of or for the
                      benefit of FRANCES CABBASSO, plus any and all accrued interest
                      and all proceeds traceable thereto;

                (i)   all funds seized on or about November 7, 2019, from Merrill Lynch
                      Investment Account No. 8J1-11867, held in the name of or for the
                      benefit of FRANCES CABASSO, plus any and all accrued interest and
                      all proceeds traceable thereto;

                (j)   all funds seized on or about November 7, 2019, from Chase Bank
                      Account No. 36722673, held in the name of or for the benefit of
                      FRANCES CABASSO and/or JACK CABASSO, plus any and all
                      accrued interest and all proceeds traceable thereto;

                (k)   all funds seized on or about November 7, 2019, from Chase Bank
                      Account No. 3769109589, held in the name of or for the benefit of
                      FRANCES CABASSO and/or JACK CABASSO, plus any and all
                      accrued interest and all proceeds traceable thereto;

                (l)   all funds seized on or about November 7, 2019, from the defendant
                      Aventura Technologies, Inc.’s 401(K) Profit Sharing Plan and Trust
                      Number 166374, plus any and all accrued interest, maintained by
                      Paychex, Inc. and administered by the Mid-Atlantic Trust Company,
                      held in the name of or on behalf of FRANCES CABASSO, and all
                      proceeds traceable thereto;



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                  (m)    approximately thirty-two thousand, nine hundred eleven dollars and
                         zero cents ($32,91 1.00) in cash U.S. cun ency, gift cards, and U.S.
                         savings bonds seized on or about November 7, 2019, from JACK
                         CABASSO's and FRANCES CABASSO's residence, and all proceeds
                         traceable thereto;

                  (n)    the real prope1ty and premises known as 48 Mall Drive, Commack
                         New York 11725, title to which is held in the name of Northport Realty
                         Group, LLC, an entity owned and controlled by JACK CABASSO
                         and/or FRANCES CABASSO, and all proceeds traceable thereto; and

                  (o)    the items listed in Schedule A, which were seized from 48 Mall Drive,
                         Commack, New York 11725 and 1 Lady Janes Way, Northport, New
                         York 117 68, pursuant to search wanants dated November 6, 2019,

    are forfeitable to the United States, pursuant to 18 U.S.C. §§ 981(a)(l)(C) and 82(a)(2J, and

   28 U.S.C. § 2461(cJ as: (a) any property, real or personal, constituting or derived from,

   proceeds obtained directly or indirectly as a result of the defendant's violation of 18 U.S.C. §



   as a result of the defendant's violation of 18 U.S.C. § 545; and/or (c) substitute assets,

   pursuant to 21 U.S.C. § 853(.p), as incorporated by 18 U.S.C. § 982(b)(l) (Docket Enny No.

   342);

                  WHEREAS, legal notice of the forfeiture was published in this disn·ict on the

   official government website, www.forfeiture.gov, for thiity (30) consecutive days beginning

   Januaiy 22, 2024, through and including Febrna1y 20, 2024 (Docket Enny No. 346); and

                  WHEREAS, no third pa1ty has filed with the Court any petition or claiin in

   connection with the Forfeited Assets and the tiine to do so under QI U.S.C. § 853(n)(2) has

   expiI·ed.

                 NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

   DECREED, that pursuant to 18 U.S.C. §§ 981(a)(l )(C) and ~        (a)(2), 121 U.S.C. § 853(p),


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   and 28 U.S.C. § 2461(c), and the Preliminary Order, all right, title, and interest in the

   Forfeited Assets are hereby condemned, forfeited, and vested in the United States of

   America.

                  IT IS FURTHER ORDERED that the United States Marshals Service, or its

   duly authorized agents and/or contractors be, and hereby are, directed to dispose of the

   Forfeited Assets in accordance with all applicable laws and regulations.

                  IT IS FURTHER ORDERED that the United States District Court for the

   Eastern District of New York shall retain jurisdiction over this case for the purposes of

   enforcing the Preliminary Order and this Final Order of Forfeiture and any supplemental

   orders of forfeiture as may be necessary.

                  IT IS FURTHER ORDERED that the Clerk of Court shall enter final judgment

   of forfeiture to the United States in accordance with the terms of this Final Order of

   Forfeiture and the Preliminary Order, and the Final Order of Forfeiture shall be made part of

   the defendant’s sentence and included in the judgment of conviction.

                  IT IS FURTHER ORDERED that the Clerk of Court shall send by inter-office

   mail three (3) certified copies of this executed Final Order of Forfeiture to the United States




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   Attorney’s Office, Eastern District of New York, Attn: Nicole Brown, ProMinds Paralegal,

   271-A Cadman Plaza East, Brooklyn, New York 11201.

   Dated: Central Islip, New York
                  July 8
          ________________________, 2024

                                            SO ORDERED:


                                                    /s/ JMA
                                            ______________________________________
                                            HONORABLE JOAN M. AZRACK
                                            UNITED STATES DISTRICT JUDGE
                                            EASTERN DISTRICT OF NEW YORK




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                                   SCHEDULE A




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   Description
                                                                        'jSerlal Number                             of Items

                                                                 1708026871708280001
                                                                 1708026871708310001
   Nintendo Video Recorders Digital Video Recorder               1708026871708310002                3         - - -1B314~----- ------
                                                                 170802687170831000C --- - - - -----1                  1B313
   Digital Video Recorder 2Mp Camera No Original Marking                                                - --- ----- ---~--------            -------
   Constellation Es Hard Drive          -- •                     59KM                               1 -                1B307
                                                                                                                           1     ------
                                  -  - -  - - - - - - - - - - - -  - - - - - - - -  - - - - - - - - -     -  -  -  - -   -
   J-------------                                                                                                      1B306
   Aventura Technologies Thumb Drives                                                               46
                                                                                                    2                          ______ _
                                                                                                                       _1_B_29_3
   Body Cameras                                                                                                       1
                                                                                                                       1_B2_9_0__________ _
   Kingston Thumb Dr_lv_e_-_16_G_B___ ____ ____ _____ _________ ___ ______ __ __ ________ _ ~---------•-- __
   Exchange Server                                                                                  1       -----+--18_2_8_9_______ _ ,
                                    ________ _____ ,_______ - - - - - - - 1 1                                          1B288
   Dell Laptop and Power Cord
                 Es Hard Drive                                  Z1N384TT                            1                  18287
   Constellation                                                                                               --t------------l
                                                                                                                       1B286 ___________ __ _
   Maxtor Hard Drive _______ _ __________ ____ jK40V8MGC _________ ___ 1 __ _ _____

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                         Hard Drive Es.3 -------- - - - - ---- -l;~~:t~~         - - _ -- ______ r       _ ----- _                       ----- ----
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                                                                 5YX09Y1A                           1                  18283
   Sea Gate Hard Drive - Momentus Xt- 500 GB
                                                                21N39N69                            1                  -1B_2_8_2_ _ _ _ _ __
   Seagate Hard Drive
   ---·--------- ----------·-                                         -,------                    ---------·--·- -1----------------- -- - - - - - - - - - - ---------

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   Hard Drive                                                                                                        1                    1B257
                                                                                                                  - ~----- - -- - - -- - - - - - - - -- -- ---- ----
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   Hard Drive                                                                                                        1
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   Hard Drive    ----~-------------~------------- --------------- ---                                      - - - - - -                       ------- -- --
        Drive                                                                                                        1                    1B254
   Hard
   1------------       - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~ - - - - - -                                         1-------------
   Hard Drive                                                                                                        1                    1B253
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   Hard Drive                                                                                                        1
   Hard Drive                                                                                                        1                    1B251
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   Hard Drive
   ,__ _ _ _ _ _ _ _ _ - - - - - - - - - - - - - - - - -                                                            1              1B249
    Hard Drive                                                                                        -------- -------- --+----------- ----
   1 - - - - , - - - - - - - - - - - - - - - - ----------- ------------ -------                                                    1B248
    Hard Drive                                                                                                      1
                                                                                                                    1----------    1B247
    Hard Drive - - - - - - - - - - - - - - - - - - - - ----•--- - - - - - - - - - - • - - - c - -                                   + - - - • - - ------~---•
                                                                                                                    1              1B246
    Hard Drive
                                                                                                                    1              1B245
    Hard Drive                                                                                        -------•----              --1---------·- ----
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    Hard Drive                                                                                                      1
    Hard Drive                                                                                                      1 - - - - - - -1B243
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    Hard Drive                                                                                        - - - - - - - 1
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    Hard Drive                                                                                            --- - - ~----~-------- 1------------- --
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                                                                                                                    1              18240
    Hard Drive
                                                                                                                    1              18239
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    Hard Drive - · - - - - - - - - - - - - - - - - - - - - - - - ~ - -- ----- --~------- ---------· ----------·- - - - - -

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   Thumb Drives                                                                                                                  3                   18225
                                                                                      ---------- ------------- ---------1---------------- -
   Hard  Drive                                                                                                                   1                   18224
   - --   - - - · · - - - - - - ---···•----·---- --~------------ ---
   Hard Drive
   Hard Drive
   Hard Drive                                                                                                                    1                   18221
                                                                                                                 - - - - - - - - - - ---------------- •--------------, -- --
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   Hard Drive ____                                                                                                              1                    18220
                                                                                                                                 1                   18219         --·---~-
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                                                                                                                                1                    18218
                                                                                      ZA18BGEM                                   1                   18217
   · - · - ~ - - - - - - - - - - -~ - - - - - - - - - - - · - - - - - & ~-- - - - · - - - - - - - - - - - - - - - -

   Hard  Drive                                                                        ZA18G303                                  1                    18216
   ---,----~---- - ~ - - -                                                                                                                           18215
   Hard Drive                                                                         ZA18G8VA                                  1                          - -•-•••---~--•-   - - - - • - • - - - - - - • - - - - - • -----
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   Hard Drlv~-------- ·----------·--· · ··----- _______ ·--------·----- -- -·--·------·· ·-+--------· 18214            18213
   Hard Drive                                                                                             1
                                                                     ...VHAY                              1            18212
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   - - -Drive
   Hard  ~ - ---------~--- ___________ -------- ______,, ----~----- - - - - ------ --· -·------------ --------------
                                        _,

                                                                                                          1            18211
   Hard Drive                                                        ... 0033
   --------------···- ----·-··-------------·--                                                                         18210
   Hard Drive                         ____                           ... ASAV                             1
   Hard Drive                                                                                             1            18209
                                                                                                            ----
   Hard Drive                                                                                             1
   Hard Drive                                                        ... 9307                             1            18207
   Thumb  Drive                                                                                           1            18206
   >-------------------~                          -  -   - - - - - ,
   Thumb Drive --·-------------- -·--- _________ _____ ._,____ - - - - - · - - - - - - - - - - •          1            18205 - - - - - - - l
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                                                                                                          1 _____ -
                                                                                                         ,__           18204
                                                                                                                         --------
   Thumb  Drive                        - - - ~ - -  -   - - - - - -  -    -   - - - -  -   -  -
   l----------- - --
   Thumb Drive                                                                                            1            18203
                                                                                  ---- ------ ---  __ ,.                                       ---


   Thumb Drive                                                                                            1            18202




                                                                                                                                                                1               18189
                                                                                                                                                                                ~ - - - - . ----------
   Aventura Thumb Drive                                                                                                                                         1 - - - - - - j 18188 - - - - -
                                                                                                                                               ---   - - - - 1
   !Phone With Clear Case                                                              __________ F17W1Wtpjcl7 _________ ___ !_ __________ 18185
   16 GB San-Disk Thumb Drive
   Aventura Thumb Drive                                                                                                                                         1    ••-~--
                                                                                                                                                                                18182
                                                                                                                                                                              ---•- -        -•----•       •-   •-
                                                                                                                              --•   --,c---•-•-•--•--•--   -----•-
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   Aventura-Thumb     Drive                                                                                                                                     1 ------ -      18181
                                                                                                                                                                                 ------·~--- ---·
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   , - - - - - - - - - - - - - - - - - · - - - - - - --------- - --------                                                                                                       18179
   2GB Aventura Thumb          Drive                                                                                                                            1                             -"·
                                          ----------~--- ---·---------- ---~--·------- .,~•---------- -------------- ---l-----------
   64 GB San-Disk Cruzer                                                                                                                                        1               18178
   Thumb Drive ----~-----··-- ----~~--·-·-,- ---- -----·--·-                                                                                                    1               18177
   Thumb Drive                                                                                                                                                                  18171
   Thumb Drive
                                                                                                                                                                1 ----•---- - - 18169
   Thumb Drive - - - - - - ~ - - - - - - - - - - - - - - · · - - - - · - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - -~--              - - - - -------- -   ---

                                                                                                                                                                1               18168
   Thumb Drive
   1------------------------
    Camera, Cables And Power Source _______ .. _________ _____
    Seagate Hard Drive ____ -·-·-···--- -~-- ____           6VY4AWJS
    Hard Drive
                                                                                                                                                                              18153
    Aventura Fiber Fence                                                                                                                                                      ---~---- ---- ----
    Computer Tower with Aventura Technologies Logo                                                                                                                            18152
    Computer Tower with Aventura Technologies Logo---·----- !_801004712
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                                                                                                               1                                      1B150
   'COinPuter Tower ~':\ve~tura Technologies Logo·- ___ ___ __ -~===~- __                                ------·----   l-,   -·----   -




                          Tower      _______________  _ --••----- _  38316297804   _____ _                     1                                      1B149
    Samsung Computer                                                                                                                                  1---------· ----
                                                                  __ _:l8019_0_~~~~- _______________ ~----                                            1B148
    ComputerTo'ller 'll_it_tl £>.ventura Technologies Logo
    Computer Tower with Aventura Technologies Logo                                                             1                                      1B147
                                                                                           - ... _ ----------- -------
    Computer Tower with Aventura Technologies Logo                                                             1                                      1B146
   lnsplRon Laptop
                                                                          SJ9MHR1                                 1                                   1B145
   Lenovo Think Pad             •    •                                    44_0_4-320________ - - ---··- -- ·-· ---1-- -                     .---- -1B_1_4_4 ------ - ---·----
                    - - -------------         ----- ·-------,---          -·------- -----~-··· - - - -· ----- - - - - - - - - - ----- --------- ----------·-·-
   Technical Drawings                                                ________ __                            1            1B143



                                                                                                                       i·
   Shuttle, Mini Computer Tower (Model S113G)                    ·- SG31G200R0902F01490 --- - - _____ 1___ ·----·- 18140 --·· -
                                                                                                                              --        ______ _
   Shuttle, Mini Computer Tower (Model S1136) _____ • _ __ SG31G200R0902F01525 -·-------·-1-- -·-·--- -- -- ~
                                                                                                  -   -                  18138  ---
   ComputerTower
   ComputerTowerwlth Aventura Technologies Logo         •     -··- -         - --- - - •         ----- - ---             1B137

   Computer Tower. with A_yentura Technologies Logo           -=-   _:l801~04199 -=- --=--=----~~  __   --- -  -- - - -- 1B136 __ _
                           Aventura Tech~ologles Logo   _____   .   1801004597   __  __ _     ___        _  __________   __:L_B13~---- ________ _
   Computer T?_\V_E:_rWlth
   Computer Tower _w_ Ith Aventura Technologies Logo ______ . __ .. 180105114 __________ ______j:t__ ___                 1B134 _____________ _
   ComputerTower                                                    40018501689                     -       ~            1B133


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                                                                               ·- --- --_·-·. _·-- __ • _t__
                                                                                                        71
                                                                                                                                            - -- ~ : - - --
                                                                                                                                                 1B130
   Computer Tower                                                      ______
   Server Aventura Technologies --= · - - - --- · ---- ---- ··--·· 18()1005144     - ·-- - - --- --1-- - •• -                                    1B129

   Server Aventura Technologies       _______ ___                    1801002723                __________ .!________ _!!l]-28 ____________ _ _
   Server Aventura Technologies with Label "Radar Server"            1801004213                               1                  1B127
   Server'Aventura Vantage Biulf Machine •                   ----· - - - - - - · - - · -- ------- ·-·------1--- -- ------ - 1B126 - - -
   Server Aventura Technologies              •              •        1801005002            - - ·- ----i- •                       1B125 ·-··--
   Server Aventura Technologies 48 Svn, _Kvm06            -                                        --- ___,,_          i--       18124___ --______ _

   Server                                                                                                                        1B123    • - -   -   -•---•a·<•-




   Server                                                            1921686104                                                  18122
                                                                                                ------ ---· ··--·- -+-----       -
   1-------------------------l---------~-----
   Server Aventura Technologies, Kvm12 Plex ______________ --··- _____________ _ _                   _____ ,_:l____     ------·· _1B_1~ ________________ _
   Server Aventura Technologies • -- ,._.___                         4001850147                               1                  1B120

   Server Aventura Technologies, Netsupport  Kvm09                                                            1                  1B119
                                                                                             -----~,,.---- ----------- ---·--·-----
   Server Aventura Technologies                                      1801002722                               1 - - - · - - - · ·1B118
                                                                                                          ----· - - - - -         f---------------

                                                                          1801004733                - - - -- ---&------- -----ffi£-                                 ------ - - -
   ~::;~terTowerw ithAventuraT~c hnologieslog_o____ ,__
   Compu~~::r_CJwer with Aventura Technologies Logo            1801002933                         __ _[[: __________ 1B115 ____ --~-=~-~~-~
   Computer Tower with Aventura Technologies Logo                                                _Jl1           ------·· 18114 _________ _
   Computer Tower with Aventura Technologies   Logo      _____ '.!QQ!8_5_0_2576_          __ _  . ___  1. __  _             1B113
                                                               1801005066                      __      1                    1B112          _____ _
   Computer Tower with Aventura Technologies Logo
                         Aventura Technologies Logo ____       40018502586       __ . ____________     1 _____  ,. _____  .,_1_B_11_1____ _
   sc:imputerTower with
   ComputerT_o__w_e_r________ ________ ____ ,___________ _                                            11                     1 8110

   computer Tower with Aventura Technologies Logo               400185 02219
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   Computer Tower with Aventura TechnCJlogles Logo                                                                             81
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   ~::;:~:T:~:::~;:~ :e~~~;aT~cl1n oioglesLogo__ __             ~~~_ _ _o ---           -- ---- -- --11 -- ___·:_-1B106--__ _________ _

   Computer Tower with Aventura Technologies Logo__      _.. __ _____ __ _______                         ________ :I,___ _____ ~!3_10_5__
   Dell Laptop                                                   1MKQRP1                                          1 ----       1B104 - - - - - - - - -
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   De~top __ _ ______ ___ _ ___      _ _____ ___ __ _   H0BX7L1                                                   1                       ______ 1B101 ___________ _
   Toshiba Laptop      _______,,____________ ________ • 59507112Q                                    •     • • ·- 1                             ,_1_8_10_0________________ _
   Continental Access Thumb Drive                                                                                 1                              1B95

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   Thumb Drive With Label "Www.Advancls.N             et"                                                               1               1B92             ------
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   Thumb Drive                                                                                                          1- - - --        1B91 ----------
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                                                                                                                        1               1B90
   Thumb Drive
   Thumb Drive• Safe  Net                                                                                                                1B89    -- -----
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   Thumb Drive Dt101 G2 8GB                                                                                                              1888
   Two 64 GB Sandlsk Drives In Package Label Aventura : Noel                   •           -
   Combo                                                                                                                                 1B87
                                                                                                                                      • 11886 -
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   Aventura Thumb Drive                                  ____         J _____ _____ _____ ___1____ _            - - - -1
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   16 GB San Disk CruzerThumb Drive                                      _                             1                      ---------
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   Aventura Thumb Drive               ______ ______ _                    I                             1                1846
                                                                                                             ------ ---~-· ------ --
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   !Phone With Clear Plastic Case
                                                                                                                        1844
   Hikvlsion Device
   -------      ------- ------- -~---- --· ------- ---•---
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   Apple AIR (Model A1521)
                                  __ ______ ______ ___ jDMPLN4ZWF4J                       ______ __  _ ~ _____ _____ __18_3_6-_-      __-__-__
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   !Pad (Model A1475)

                                                                         l                             1                 1835
                                                                 l3251287503A4C                                                                ---- ----
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   Net-Gear Router (Model NumberWn2500Rp)
   White/Sliver IP hone (Model Number A1549) and Pink !Phone
                                                                  359232069961973                      1                 1832
   Case
                                                                  DMPVR702        HPDV                 1
                                                                                                       1     _______   [ 1831
                                                                                                                          : [_________________ _
   Sliver iPad In Silver Black Case, Model A1709
                                                 -                357989054       500411 - - - - - -
   White !Phone (Model A1533) -~--------------<----                                -  - -
                                                                                                       S                 1828        --------       -
    Credit Cards                                                                  ---------------------+---------~---!----
                       ----~---- -------·- ·-------- ~- · - - - - - - · - - · · ·                      2                 1827
    Credit Cards
                                                                                                       1 heat-sealed b~ -1826 ________ _
    Gift Cards In The Amount Of 500.00 US Dollars.

   ~;~~ts 5B;~l~:r~n The Amount
                                 Of $8,450 US Dollars _____ J                                                        ~
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   $23,141.00 In Cash:$ 100.00 X 217, $SO.DO X 22, $20.00 X 6,
                                                                     _______ _______ ____ J-__h~ealed ba1 1823 _ _ _____ __
   $10.00 X 4, $5.00 X 19, $1.00 X 86 _ -·-- _______ _______ _______                                       1822
                                                                                           16             1-------
   Discs
   Fisher Optical Media  Converter




                                                                                           Z1 W5N0BN                                1
    Seagate 1Tb Sata Hard rive Labeled ~3Tb 2Pcs Wds Os Drive"
                                                                                                                                    13            189
    CDs
    Pink !Pad With Black Case {Model A1674)                               --                DMPRL1GQH259             i~------____               -,J.88 _____ •      _ _ _

                                                                             p_te_r_ _ _  ,_____         _____       _____         _1 _____   _ ,._1_87_____ ____ _
   ,__D_e_ll_ln_s~pl_R_on_La~p_to~p_(~M_o_d_e_lP_3_0~E)~a_n_d_P_ow_er_A_d_a~
                                                                                                                                    1             186
    Dell Studio Xps Laptop (Model 1645) and Power Adapter                                  3NVMRN1                                  - --------~----------
                                                                                    _      SD30G200R     0804F02152                 1             185
     Custom Desktop (Xpc Logo)               and   2  Power    Adapters      ______                         ------- ------- - ·------          - - ----------------
                                                                                                                                                  183 _________________ _
     Netgear Router                                            ________ ________ ________ ________ ________ ___ _:l;
                                                                                            356720081470075                      _,_______ __ 181______ _____ _
    Apple !Phone (fV!odel Number A1965)
                                                                                         _______       _______    _______    ___    20 ~oxes       31580210760840-1
     8 Ch H.264 DVR lhdd (Model Number Dhe-08-04IP) _______
                                                    Number     Dhn-16E-)                                      _____ _______     __~boxes _______ 31580210760840-1
     16 Ch PoE Eco Nvr           1Hdd   (Model
                                                                                     -          -_ _ _ _ __________       ________ ~- __________ ~021076 0840-2
     8 Ch PoE (Model Number Dhn-08E)
                                                                                    ------~--  ---------   -----·--- ----           30             31580210760840-2
     4 Ch PoE Ports (Model Number Dhn-04E)                            ---------
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     4 Ch PoE Ports (Model Number Dhn-04P)
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   4 Ch 4Xhd + 2 XIP (Model Nu-mber Dhn-0211') ·-·~=---=-- -~~-=- ~----:..=-~-=--
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                                    Dhe•08·041 P)    - - -  - · - • - - - - -  · - · -  ·-····-·---•- ········-•-1_
   8 Ch 8Xhd +4 XIP (Model Number
                                                                                __...- ....... -·-·--··- __,_l___ ·-··----•1-3_1_5_80_2_1_07_6_0_8_40_·_2___ ....
   16 Ch H.264 DVR lhdd (Model Number Dhe•16·081P) _______ ,_____
                                                                                     .. ···--· · - - - - · · ,1_1_9_·-·-------->-31_5_8_02_1_0_76_0_8_40_·_3__ _
   8 Ch PoE (Model Number Dhn·08P) . -··---- -·---· -----·-- --·--·
                                                               _____       _____         ___ ·--·-·--sl ,_1__._____. 31580210760840-3
   8 Ch PoE (Model Number Dhn·OBF)
                                                                               -··- . --·· _ _ _ _ ,_3_0_ _ _ __,_3_1_58_0_2_1_07_6_0_8_40_·_3___ _
   16 Ch PoE Eco Nvr 1Hdd (Model Number Dhn-16E-) . ·- --·-· -··---·
                                          Dhe-16·08I P)            ----·--     ____                ..._____ ,_3____ __ ,3_1_5_8_02_1_0_7_60_8_4_0.·_3 ···--·--
   16 Ch PoE Eco Nvr 1Hdd (Model Number
                                                         ---•••••• _   _   ____           __ ·-·-·  ···--·-· _110 ·----·----1-3_1_58_0_2_10_7_6_08_4_0_·3_ _ _ 1
   DVR (Model Number 2N•Tvr•611)
                                                                                                                   5                   31580210760840-3
   CCTV WI Ring Solutions (Model Number Vld·Dpv016 IPt)
                                                                     · - - - - - - · _·    ______           .. _.,_4_0_. ____       _,_3_1_58_0_2_10_7_6_0_8_40_-3_-_·-==
   DVR (Model Number Dhe·04·Ent)               ______ ___ ·
                                           Dhn·04H)    --·-···     - · - · - · - -        ·-·-··- ·  -  ·  -  · _,_8_9 _ _ _ _ _ ,_3_15_8_0_2_10_7_6_0_84_0_·3___·-··-
   Netw?fkVideo Recorder (Model Number
                                                                                                                                   60840·4-------·
                                       - - - -Cam·1Pe-3B
                                                          -3F-IR)                                             242
                                                 - - ~ - < - - - - - - - ~·----~~ --~ _,. . . _. ., _________ ------- --- 315802107
   ,3Mp
     -~ Mini   - - -IR-Camera
         - -Bullet            - - - ·Number
                        ~ ~(Model                                                                             60          31580210760840·4
                                              2.8-12Mm
                                           ---------1---------------~~-------·
    3Mp Starlight Motorized Vari•Focal Bullet
   - ~ - - = - - · - - - - - - - . , - -Number
   2Mp Vp Mini Dome IR Camera (Model               Cam-lPs-2D·3F-
                                                                                                                                                        __.___,_
                                                                                       - - - · - - · - _____ ,_19_____ _ 1-3_15_8_0_2_10_7._6_0_8_4_0__·4
     tRvpL - · - - - - - - - - - - - · - - - - · - - - - - + - - - - - ·
     2Mp Vp Mini Dome IR Camera (Model Number Cam·1Pe-2D·3F-
                                                                                           _ ___ · - - - - - - - .. ,_1______ __ ,_3_1_58_0_2_1_07_6_0_8_4_0_·4__ ···--·
   1-IR_v__,_p.,_)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _.____ _ _
     SMp Vp Dome IR Camera (Model Number Cam·1Pe-5Dl31Bm-
                                                                                                                                        31580210760840·4
   1Rvp)      _____ _                           - - - - - · - - · - - - - · · - - - · -······ ----·•· --8--- --
   5 Mp Vandal Dome Motorized 2.8-12Mm (Model Number Cam-
                                                                                                                              ---·-- 31580210760840-5 -----·-
   lPr-5D-212M·IRvp)                   · · - - - - - - - - - , - - - - - -------- ---···-· ·--··· 180 _.
                                                         ______ ______ --·----- ·· ________ 30                                          31580210760840·6
   4 Ch (Model Number Dhe-04-021P)
                                                  tscb)        __     __           -------     -·--·~-      -  ·-~··--- ·               31580210760840·7
   Network Camera (Model NumberCa      m-Ptz-Hs-N
                                                                 ____ - -   -  · · - · · - - - - - - - - -  -      234.....             31580210760840·8 --· . __
   Network Camera (Model Number Cam-1Ps-1B-212V-IR)                                                                                     31580210760840·9
                                     Cam-A2B-3 61R)                                                                96
   N~rl<-Ca     mera (Model  Number
                                                               - - < - - - - - - - - - - · · - - - · - · _25___ _                       31580210760840-10
   PoE Switch (Model Number Dhn-08E)
                                                                                  -  -  -  -  ·--                  10                   31580210760840-10
   PoE Switch (Model   Number   Dhn·08P)
                                                                                                                                        31580210760840-10___ -·
    PoE Switch (Model Number Dhn 04E)       _____ __ ·-·•---- ------- - --·-- ·-·---·- 50.
                                                                                                                   10                   31580210760840-10
   PoE Switch (Model Number Dhn-04P)
                                                                   -  - - - -  -  · -  · - -  -  - - - ·  -  ~    -  -  -  -  -   ·     31580210760840·10
    PoE Switch (Model Number Dhe-04P-021P)                                                                                              31580210760840-11
                                                                                                                   4
    Hirsch ldentiv MX Controller (Model Number Mx8M3)
                                                                     I ..    .                             . . 3                        31580210760840·11
    Network DVR (Model Number Dht-16)

    Network DVR Multifunction (Model Number Dhe-Ahd-16) .. J ___ ...
                                                                                  _____ ··-- ____ ·-·--· 4 ---·-- ·-·
                                                                                                                                        31580210760840
                                                                                                                                                            -U__ _
                                                                                                                   20                   31580210760840-11
    Product with Model Number Mb-9
                                  Psc-2432A c)                                                                     5- - ~ - - - - - - ~ 31580210760840·11
    Electrical Box (Model Number                  -------!--·~---~--                     ~   · - ~  - - - - -   -  -                                       •%--~-·-·---

                                                                                                                                                      0-
    License Plate Recognition (Model Number Cam-1Pm-2X-Uld-                                                                             3158021076084 11
                                          - - - - - - - · - ____ _ -·- -·----- --- --2:--                                      ------ --·i--- ------ ··-
    14Hs)                                                                                                          1                    31580210760840-11
    Aventur~-Llterature (Model Number486An2815568)              -·1-------------t----
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    Aventura Literature (Model Number 486-A·Ny-2815568)
    Hlkvlslon Network Camera (Model Number     Ds-2CD·46  26Fwd-                                                                         31580210760840-11
    l1y_
                                                                                                                                         31580210760840-11
                                                                         ···------- ·----··- ___ -·-·---            --··_:I :_·_-- ·--·-•- -·--·-- ---
    Hlkvlslon IR Speed Dome (Model Number Ds-2Af-8223S1-Aw)                                                            1                31580210760840-11
    Monoprice (Model Number 31597)
                                                              ____ · - - - - - - -           - -  ·    -  ·---·--       25 __ .         3158D210760840-11
    Body Worn Camera (Model Number 6Pc-R2·00058)                                                                                        31580210760840-11
                                (Model NumberVld   ·Cou-16)                                  ______          ____ 5
    16 Ch Data Code Distributer
                                                                                     --·---        ______        __    !__·--··-  ---·· 31580210760840-11 ·-··--
    Hirsch ldentiv (Model Number129080840396512000) ·---- -·----
    2Mp Ahd Vandal   Dome  Manual  (Model  Number   Cam-Ahy-2     D-
                                                                                                         ---            168              31580210760840-12
    212V·IRVp)                    ----·-·--------1------·------
    Network DVR (Model    Number  Dmb·08R)    - -  - -  - - ·   - -                                                    [! box            31580210760840-13
                                                                                                                                                             •••••
    Network DVR (250GB) (Model Number D~b·04Rn)                      ••• -------· -··-·· ·-----··-- --•--· 11 box - - - 31580210760840-13
                                                                                                                                         315802107 60840-13
    Network DVR (Model Number Dmb·04Ra)             - - - - - · - + - - - - - - ------· ----- 1 box
                                                                                                                                                   60840-13
    Network DVR (Model Number NDVR·08044)                - - - - , - - - - - - - - - · - - - · - - - - · - ··-·- 4 boxes, 13 per b 315802107
                                                                                   .  ·-··--··-···-· · ··--···-··· ···- 6 Boxes          31580210760840-13      ·-
    Network DVR (Model Number     Yid Dvb)          .. -·-·---     __    ------··
                                        Shr-Lv400)                                             _____         _____      1 _____ _ 31580210760840·13. __ ._
    Intelligence Camera (Model Number
    surveillance Camera (Model Number Surveilance Camera With
                                                                                     ·--····- ··-·-·-· -·-- ~ - - - - - • - · 31580210760840-13
    Power Box)·- -····--- -------- ·---·--· --·-~·- ---·---·                                                                             31580210760840·13
                                  Dmb·08Ra}         ·---··-.. -..  ____      ·-•-.---     ·---··-·                      5 boxes
    Network    DVR (Model Number
    Netwo;k DVR (Model Number Dmb:16 Raj·==- ---·-                _       ---··-··    ·-·   -·-·-·-----    ·--=-=-=     ~~~-    . -=- _  31580210760840-13
                                                                                                                                                   60840-13     _
     Network DVR (Model Number Dmb·04S)                   - - - · - --·-·-- -----·· - · - - - - - 1 b9_x_ ______ 315802107
                                                                                         -···--··        -·-            1  box        -· _'11580210760840-13   ·--
     Network DVR (Model Number Ds·8104Hm     l·B1)         -··-··-~          ---·---
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   CameraBra cketlnBox(M odelNumbe rCameraBra cket) __ J
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                                                          __l _______ _______  _____  7 Boxes ___    31580210760840-13
   Network DVR (Model Number Vd2B)        ___ _ _ _ _____
                                                                                                     31580210760840-13
                                                                          _ - ~ ~ 1 1 box _______                                                                               ----
   Hikvlsion (Model Number Camera Bracket) _________ _________ _________                             31580210760840-13
                              Ds-720Hvl-S t)                                          1 Box                                                                                        -
   Network DVR (Model Number



   ~~;w~;::~ ei':~~~~~ :~~~i~lt~l ~ter Cam-Ahy-5B-3FIR) -
   Network DVR (Model   Number  Cam-Ptz-lP-N tsc)
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                                                                                                                  39- - - - -        31580210760840-13
   Automation Boards (Model Number Farec3)         ·---~-·~ · - - - - - - - - ~ ----~-- -------·-- - -
                                          n)                                                                      5 boxes            31580210760840-14 ----
   PTZ Camera   (Model Number  Cam-1Py-3Zd        _"' ______   ---------- -- ---------·-- --~              -   -  -------       --
                                                                                                                  1                  31580210760840-14
   Network DVR (Model Number Ds 7208Hvl-St)                  ----                                ---------                     ---                                ·-

   Mini Bullet 3.6Mm {16 Per Box) (Model Number Cam-Ahy-                                                                             31580210760840-14
                                                                                                                  2
                                                                                                                                --- ! - - - - - - - - - - - - - - - -
   5B3FIR-B3)
                 ---~---- ------- ------- ------- -· ------~-- -------·-- --------~-- ---------
                                                                                                                                     31580210760840-14
                                                                                                                  4                                 -~------· --
   5Mp Ahd Turret Dome (Model Number Cam-Ahy-50-3F-1Rvp)         - - - - - - - - - - - ~ - - - - - - - - - -- -
                                                                                                                                     31580210760840-14
                                                                                                                  6                                    -~--------
   Speed Dome Camera (Model Number Cam-52 36X WmlRp)               ----                                   -------                    ---

                                                                                                                                     31580210760840-14
                                                                                                                  1               -- ~-··----- --------- ---
   Speed Dome Camera (Model Number Cam-1Pm-2Z-30X-IP)                                                             ~------~
                                                                                                                                                          31580210760840-14
   Speed Dome Camera (Model Nuf!lber Cam-1Pm-1Z-18X-Dn)
                                                                                                                                     _±_ ___               -------~ ~-------
                                                                                                                                                          31580210760840-14
                                                                                                                   2
   Speed Dome Camera (Model Number Cam-1Pm-12-30X-Dn)        ~ - - - - - - - - - - - - - - - --- -------- --· -
                                                                                                                                                                              -------
                                                                                                                   16                                     31580210760840-14
   2Mp Ahd Mini Bullet (Model Number Cam-Ahy-2B-3F-IR)     - ---------- --.--~-·- -
                                                                                                                   4                                      31580210760840-14
   PoE Switch (Model Number lth-24P-100)                                  v----=-•-•-     -----------~----·---- ---                                                             ,,-~



   High Speed Network PTZ Camera (Model Number Cam-lPd-82·                                                                                                31580210760840-15
                                                                                                                   12                                                          ----
   36X-IRI)                                                                . - - - - - - - - - - - - - - - - - - - ---
                                                3F-IR)                                                             6                                      31580210760840-15
   Camera (24 Pcs/Box) (Model Number Cam-1Pe-2B-             ------------
                                                                                                                   5                                      31580210760840-15       - --
   Dvd Housing (Model Number Dvd Housing)                                                                                                           --
                                                                                              •            •     ______ - l2                              31580210760840-15
   Speed Dome Camera (Model Number Cam-1Pm-2-Zw-30X-Dn)            •----
                                                                                                                                                              -----·-.,-
                                                                                                                       6                   31580210760840-15
   Network Camera (Model Number Cam-1Pe-2C-03Mm-TI)
                                                                                                                       4                   31580210760840-15
   Network Camera (Model Number Cam-1Pe-2C-03Mm-Ls) ~---- --·- - ~-------- -------·-- ----                                         ----- - ·
                                                    -                                                                  1280                31580210760840-15
   Video Cords (ModclNum   ber Vld-Vb2)
                                                                                                                       3                   31580210760840-15
   1 Ch Video B2Lun._JModel Number Vid-Vb2) ---------- ------r-•       ----------- ------~--- -----·- ---- ------- --
                                                                                                                                           31580210760840-15
                                                                                                                       1
   Cam !Pd Serice PTZ Camera (Model Number Com Ptz-lP-Ntsc) -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~ - - - - - ~ - - ~ - - - - -------------
   Cam Vandal Proof Dome Camera (Model Number Gs-07F-                                                                                      31580210760840-15
                                                                                                                       1
   0391V)                                                           - - - - - - - - - - - - - ~ - - ~ - - - - · - - - - - ------- -
                                                                                                                       1                   31580210760840-15
   Camera W Cord (Model Number 630511116117)
                                                                                                                       1                   31580210760840-15 ----·
   180 Adam (Model Number 8649 4603     9959)                  ~--         • - - • - • •-••   •--~•w---•--~•- - - -    -------------- -
                                                                                                                      --•--••-•••••-~••


                                         - - - - - - - · - - -                                                         6                   3158021076   0840-15
   DVR (Model Number Dht-16)
                                                                                                                      31580210760840-15
                                                                                                     1
   Speed Dome Camera (Model Number Cam-1Pm-lz-18X·Dn)_ - - - - - - - - - - - - - - - - - - - - - -
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   E10015 (Model NumberVid-PvlilPtt)               - - - - - ~----- - ----------- ---·------·- _12 _____
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                                                                                                                      31580210760840-15
   Aventura Usa (Model Number Vid-012Nrt1)
                                                                                                     5                31580210760840-15 -------
   f,,,/V Input (Model Number 32A32V)                     -- - - - - - - - - - - - - --------- ----~ 28           ---
                                                                                                                      31580210760840-15
   Assy Top Level, PoE M6 (Model Number 700-0118-01-05) -
                                                                                                     1
                                                                                                     ,_________ _     315802107604840-16
    E10015 (Model   Number Cpol-Bnc414X100)
                                                                                                                                                          315802107604840-16
    CCTV Video Equipment (Model Number Cam-Ptz-Hs-lR-N)    - l---------                                        ____________ -__ -------
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    Camera (12 Pieces Per Box) (Model Number Cam-1Pe-3Dl-212V                                                                                             315802107604840-16
                                                                                                                     6
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    IRvp)                                                                                                              -----
                                                                                                                                          5               315802107604840-16
    Network Camera (Model Number Cam-1Pin-3X-Dnp)                                                                                             ------~--
                                                                                                                                          5               315802107604840-16
    IP Network Camera (Model Number Cam-1Pm-3B-821R)                                                                               - - ------·
    Network Camera (24 Per Box) (Model Number Cam-1Pe-2B-3F-                                                                    315802107604840-16
                                                                                                           6
    IR)                                                 ------ - ~-- -------- -- __ ,. ___                 5                    3158021076 04840-16
    Server Rack (Model Number No Part Number)                    ---~- - - - - - - - - - - - - · - - - - -
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    Network Camera (Model Number Cam-1Pm-2Zw-36X-Dn)                     ,_, -- ------- ---------"- -        ---~------ -
    Network Camera (12 Per Box) (Model Number Cam-lPe-3D1-                                                                      315802107604840-16
                                                                                                           6
    212V-IRVp) ______.                     ---           ---- .----                                   --   - ~ - - - - - - - - f------
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     CCTV Video Equipment (Model Number Cam-Ptz-Hs-lR-N)
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   Network Camera (Model Number Cam-IPm-3X-Dnp)                                                                                          - ----
                                                                                                                                         315802107604840·16
   NetworkCamera (Model Number Cam-IPm-3B-821IR) -- - -_·__ - - - =-~=--·==-~-
                                                                                                                     [6                  315802107604840-16
   3.7Mm Carn era (Model Number Cam-IPe-2C-03Mm Tl)
   Camera {12 Per Box, 1 BoxWith Only 2) (Model Numberc-a'm- - ·--------·- --- ---- ---
   PIP-3Dl-212Z-IRvp)                    .                           . -- ---- -- __ ---- .. _ - - - - - - - 30 ------ --- :g_5_80210?§.'1~'!9.:!?.. _ ---
   2Mp Ahd Turret Dome 3.6Mm (Model        Number   Cam-Ahy-2B      -3F                                                                      31580210764840-18
                                                                                                                          33
    IRvp)
   Turret Dome 3.6Mm (16 Per Box) (Model Number Cam-IPr-2T-                        •                                                         31580210764840-18
                                                                                                                          6
   3F-IR)                                                                ------------- ---------"'•• - ---   ---------~-        ---------~   --~~--- - --------- ·-·
   ~ t D~ffi~3~6Mffi-(i6      Per Box) (Model Number  cam   ..AhY-2s
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    3F-IR)                                                                                           --~~--- - - - - - - - - 1 - - - - - - - - -
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                                                                                                     ________ 28 ___________ 3158021076840-19
    DVR (Model Number DVR-08-H264) · · - - - - - - - · - · - ________ ________
                                                                                                                          14                 3158021076840-19
    DVR (Model Number DVR-04-H264)
                                                                                                                                             3158021076840-20
                                                                                                                          149
    2Mp Turret Dome 3,6Mm (Model Number Cam-IPr-21-3F-IRvp)
    Vari-i=~~~I Bullet Motorized 5-SOMm (Model Number Cam-I Pr- ------~ - - ----·- ---                                                       3158021076840-20
                                                                                                                          5
    2B-550V-IR)                               - - - - - -  -    -  -  - - - -                      -   - ·  -  -   -  -  ---- -
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    1R Weather~!~~ (Model Number Cam-Ahd-2B-550V-IR)                  __ _____ ,, _______ _______ _ ~----·
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                                                                                                                          4
    Hikvlslon IR Fixed Dome 2,8Mm (Model Number Ds2CD213F-1)                                   -- •·-------      -  - -  -  - - - - - - ·-·- ----- - ---·- ------··-
    Vandalproof IR Dome Camera (Model Number       Cam-lPe-20I      -   +·  ---  • -------
                                                                                                                                             3158021076840-20
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    212M-1Rvp)                                 _______ ____ ··--- . ______ -·- ______ . ___,_____ '.1_____ .·····-·-- ___ _
                                             Cam-7Z-3X-IR )      . ________      ________       ________            __   ~------       ---   3158021076840-20
    Dome Camera 5-15Mm (Model Number
                                                                                                                          6                  3158021076840-20
     IR Network Camera (Model Number Cam-IPm-3B-041R)
    Network Camera (Model Number Cam-lPm-20        3-Vp)       ·--·-_-:   :== ==-~===
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    IR Camera 3.6Mm (Model Number Cam-5B-36-IR)
                                            Cam-6B-65-I R)     ______    ________       ________       _______           ii______            3158021076840-20
    Bullet IR Color Camera   (Model Number                               1
                                             _______ _____ __ _____ ___                                                   5                  3158021076840-20
    N/A (Model Number Cam-6B-36-IR)
                               -7X-Wdrp)  ________    ________          ________     ________      ________            _ ~-----·-,?: 1,580210 76840-20
    N/A (MclClel NumberCam
                                                                                                                                             3158021076840-20
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     Vandal Proof IR Dome (Model Number Cam-2Npd-21-IRvp)                ---•••~•-c•----•--•---
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     PoE Network Camera (Model Number Cam-lPm-203-Vp)
                                                                                                                          7                  3158021076840-20
     IR Network Camera (Model Number Cam-IPm-1B04-IR)                                               - - - - · - · - - · - - ~ ------------


     2Mp Ahd Turret Dome 3.6Mm      (Model Number   Cam-Ahy-2D       -3F                                                                     3158021076840-20
                                                                                                                          6
     IRvp)                        __________ _ _ ________ ___
                                                                                                                                          3158021076840-20
                                                                                                                      11
    3Mp Mini Bullet IR Camera (Model Number Cam-1Pe-3B-3F-IR) ___ . _
                                                                                                                                        3158021076840-20
                                                                                                                           54
    Vp Mini Dome IR Camera (Model NumberCam-lPe-1D-3F-IRV!)) -------- ----·---·
                                                                                                 --+--------------------,-1_7_______ _ ,_3_15_8_0_2_10_7_6_8_40_-_20____ _
   r--lR_W_e_a_th_e_,rp_r_oo_f_,(_M_o_de_l_N_u_m_b_e_rc_a_m_-_A_96_0_-7_0_0_B_-3_F_zr~)-
                                                                                                                           5            3158021076840-20
    VplP (Model Number Cam-6D-21Dn) ______ _ ________                - - + _ ___ ___ _ _ _ _ _ _ _

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   ,_N_t_sc_,(~M_o_d_el_N_u_m_b_e_r_Ca_m_-_6_D_-2_1_D_n)
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    2Mp Vp Mini Dome IR Camera (Model Number             Cam-lPs-20-                                                                     3158021076840 20
                           _______ _______ _______ _______ _______ _______ ___
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     212V-1Rvp)
                                                                                                                                         3158021076840-20
     2Mm Bullet IR Cam (Model Number Cam-IPe-2B-212M-IR)                     _______ _______ _____ ~- ______ ,_______ __ _
                                                                                                                                   3158021076840-20
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    Bullet IR Color Camera (Model Number Cam-8B-651R-Wdrh)       --------- ------ - - - - - - - + - - - - - - - - 1 - - - - - -
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                                                                                                                2                  3158021076840-20
    Bullet IR Camera (Model Number Cam-IPe-5B-310V-IR)
    6 Inch 2Mp PTZCamera 22XZoom (Model NumberCam-lP-r----- --~----•.,- ---- -·----                                                3158021076840-21
                                                                                                               19
    2Z22X-IR)                                                                           -------·-··-· -·-----,----- ·---- - - - -
    Vandalproof IR Dome Camera (Model Number Cam-Ahd-2D-3F: --- - --------··---                                                    3158021076840-21
                                                                                                                55
     IRvp)                                      Cam-1Pe-2D-2r==- -·--·-·-------- ·--···-·-·· , _________     _ , _____       __   ,________ ____ ··---..
    2Mp Vp-Mln,l[lome IR Camera (Model Number
                                                                                                                   _______+3_1_58_0_2_10_1_6_84_0_-2_1______
     IRvp)       _______ _______ _______ _______ _______ _______ ___ 19
                                          00Xw)                                                                  5                 3158021076840-21
     Box Cam~ra (Model Number Cam-A960-7
                  (Model Number Cam-A960-7 00X)__   --- -----  • =~~-==~          =-=-=~=        =-=-=-= ,?8_===--=~-,-3_15_8_0_21_0_7_68_4_0-_2_1______ _
    !oxCamera
                                                                                                                                 __3158021076840-21
                                                                                                                 12
     IR Weatherproof Camera (Model Number Cam-Ahd-2B-6F-IR) _ _ _ ------·----- --· _
     1.3Mp Vp Mini Dome IR Camera (Model Number Cam-IPe-1D-                                                                        3158021076840-21
     6F-IRvp)                                                                                                    19
     1.3Mp B_c:i~Ca~_ra (Model Number Cam-IPe-1X)          __ _ ________ ________ _ ---==--==~ -~=-==]31 58021076 840-21
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   IR Weatherproof Camera (Model Number Cam-Ahd-2B-6F-lt)          _________ ----•-- .                             _6___________ ________ ....
   5Mp Vp Dome JR Camera (Model Number Cam-1Pe-5D-212V-                                                                                     _
                                                                                                                               3158021076840 21
   IRvp) ··--••···-----·-·---- ·•···-·-·--   ---·-··-·-··· __________ _              --•--··--·-···· ---·-·······- ~---------- -------·--··-·· --
                                                                                                                                                3158021076840-21
   4Mp Mini Dome 3.6Mm (Model Number Cam-1Pr-4D-3F-1Rvp)                                                                 2
   Outdoor Network PTZ Dome Camera (Model Number     • "- -
   1Pc68525R-X44U-Nb)                                                                                                    1                      3158021076840-21
                                                                                                                                                      -------
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   IP Camera (Model Number Cam-1Pm-22-44X-IR)                                                                            3                      3158021076840-22

                                                                                                               3158021076840-22
   Speed Dome Camera (Model NumberCam-lPm-1Za-20X-IR)            . _        ·---·-··--- ____________ 1_5__________ _______ _
                                                                                                                                                3158021076840-22
   Speed Dome Camera (Model Number Cam-1Pm-3Zw-36X-IR)
   8/16 Channel DVR (Model Number Dvdr-16-H264)                                                                          7                     3158021076840-22 -----
   8/16 Channel DVR (Model Number DVR-04-H264)        •                     •                                            14                    3158021076840-22
                                                                                                              ----+-···-· ----·----
   High Speed Network PTZ Camera (Model Number Cam-lPd-8&-                       •
                                                                                                                                               3158021076840-23
   36X-IRI)                                                                                                              15
   High Speed Network PTZ Camera (Model Number Cam::ird~::iz-- - - •• ----- ·-----·•·-·-·· -·
                                                                                                                                                3158021076840-23
                                                                                                                         13
   36X-IRI)                             ---··-·-·---- _
   Network Camera (12 Pieces Per Box) (Model Number Cam-1Pe-                                                                                   3158021076840-23
   3D-212V-1Pvpm)                                                                                                        5 boxes
   Network PTZ Camera (Model Number 721R2Sd-K5)                                                                          18                    3158021076840-24 " - - -
                                                                                                                                       ----
   4 Ch H.264 DVR 1Hdd (Model Number Dhe-04-021P) - -- --·----                                                           10                    3158021076840-24

                                                                                                                                               3158021076840-24
   16 Ch H.264 DVR lhdd (Model Number Dhe-16-081P (05757))                                                               12

                                                                                                                                               3158021076840-24
   16 Ch H.264 DVR lhdd (Model Number Dhe-16-081P (05764))                                                               1                                              ---
   8 Ch H,264 DVR lhdd (Model Number Dhe-08P-041P)                                                                       1                     3158021076840-24
                                                                                                                                              ·- --------·----- --
   2Mp Ahd Bullet Manual 2.8-12Mm (Model Number Cam-Ahy-                                                                                        3158021076840-25
  2B-212V-IR)                                                                                                            89             ---- - - - - - - - - - - - -
  1 - - - - ~ - - - - - - - - - - - - - - - - - - -·---- - - - - - - - - - · - -                        ---------
   IR Weatherproof Camera (Model Number Cam-A960-700B-                                                                   _
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   212V-IR) --·--------·----- -------·              ___________ _ __________ -·-····- -·------·- ~---·--·-· .-------------- ··
                                                                                                 141           3158021076840-25
                                                                                                 ------·· ____ - - - - - - - - · · -
   5MJ3. Small Bullet 3.6Mm (Model Number Cam-IPr-SB-3F-IR)       1_____________________________
   Vandal Proof Mini PTZ Speed Dome Camera (Model Number                                                       3158021076840-26
   Cam-62-lOXp)                         -------·-----+·                          _ -·-·-·····   ··-      _______ .!?             ·---
   850Nm10 (Model Numbercam-lR-150)                                                                                      9                      3158021076840-26
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   Vandal Proof Mini Ptz Speed Dome Camera (Model Number                                                                                        3158021076840-26
   Cam-6Z-10Xp)                                                                                                          3
   IP Network Camera (Model Number Cam-1Pm-2B5-21IR) __•• __ ~ -                                       ....---~-~~--
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   Vandal Resistant Dome Camera (Model NumberCam-8D-361R-                                                                                       3158021076840-26
    Wdrp)                                                                                                                5
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    Vandal Resistant Dome Camera (Model Number Cam-5D-24Dn-                                                                                     3158021076840-26
   IVp)                                                                                                                  5

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   ~~atherproof IR Camera (Model Number Cam-6B-36-1Rp)                                                                   5
   JR Weatherproof Camera (Model Number Cam-Ahd-2B-622V-                                                                                       3158021076840-26
   I~--- - - - - - · - - - - - -------·-·-··                                      ·-· ---··· -- ·--·---··-- _!0                     . ·-··· ·- ---··----····--- -·--
                                                                                                                                                3158021076840-26
   4Mp Small Bullet 3.6Mm (Model Number Cam-1Pr-4B-3F-IR)                                                                215
   2Mp Ahd Bullet Manual 2,_8-12Mm (Model Number Cam-Ahy-                                                                                       3158021076840-26
                                                                                                                         5 boxes
   2B-212-IR) _________ ---·-··--------· ·-··--·-···- ·------------------ ····----------
                                                                                                         3158021076840-26
   Weatherproof IR Camera (Model Number Cam-7B-211R-Wdrp)                               4
   Vanda!R~slstant Dome Camera (Model Number Cam-6D-21Dn- ·-·  - --· - -           ·--- --·-- -·- •• --- ··-·-··-··- -----
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   Vpl)                                                                                 10
   VandaTProof IR Dome (Model Number Cam-6D-361R-Eb) ---- -·- ----·--- • - --· ·------ 5                 3158021076840-26  --

   Network-Camera (Model Number Cam-lPm-203-Vp) -=~--1- __ __                           ______ ~- __ -- - _·-::_ ~=~_:: -----                   3158021076840:~Z
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   NetworkDlgltai Video Recorder (MITTfel Num-ber Dhe-08~081P--                                                                  3158021076840-27
   Hyb)                                                                                                       2
   Network Digital Video Recorder (Model Number Dnr04-H24-                                                                          3158021076840-27
                                                                                                                  8
   264)                                                               ------------ ---~------- ------- ----
                                                                                                                  4                 3158021076840-27
   DVR (Model Number Dhe-Ahe-16)
                                                                                                                  13                3158021076840-27
   Network Video Recorder (Model Number Dhn-08-H]
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   NetworkVld;o Server (Model NumberDs-6301-Di) -- -- _: --=-=-=---=- :=:- - - - - · - - - - - - - - - - - - - - -
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   Ahd DVR (Model Number Dhe-Ahd-16]                                                        --------·--------- --- -------- -- ----
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   DVR (Model Number Dhe-Ahd-16)                               ' --- -------------- -·-- - ----------- -------
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   DVR (Model Number Ds-6508-Hfl-Sata] •
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   DVR (Model_Number Dhe-16C-lf]            ___________:· __ =--=-===-=--:_~=--=-:-==--:==:~-----=· 1---=-------- -
                                                                                                                  1                 3158021076840-27
   Network Camera (Model Number 230310086081]                                                                     -2- - - • - - - 3158021076840:i? _____ _
   H!Rschldcliv( Model Number Mx4M3)       --·---- ·-·- - -- -               ------- -
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   HIRsch ldetiv (Model Number M.X2M3) -
                                         Number   Ahr04)-· ·-· ---   --- ----    --------  ---··-  ---   -     •  3--· ---- ------- 3158021076840-27___ -----
   All In 1 Hybrid Video Recorder (Model

   CCTV WI Ring Solutions (Model Number Vld-T016Ps) ____ -           --=---==----= =--_---_:==   :_--=:~::=   _4_-=-=-:-==== - _31_5_8_02_l_OZ.~~4.Q-27 ______ _
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   IR Weatherproof Camera (Model Number Cam-Ahd-2B-3F-lRl_                                                    51
                                                                                                              23                 3158021076840-28
   Body Worn Camera (Model Number Gdc-R2]
   Body Worn Camera (Model Number Bwc-X4]     -     ••   .• • J                                               12                 3158021076840-28
   Vami;;iproof IR Dome Camera (Model NumberC.;-m-7D-21Vp::--                                                                    3158021076840-28
   Wdrp]
                                                                                                                                 3158021076840-28
   Box In One Camera (Model Number Cam-7X-Wdr p) ________ -=--
   Vandalproof IR Dome Camera (Model Number Cam-2Mpd-21-                                                                         3158021076840-28
   1Rvp)             .      .
                                                                                                                                 3158021076840-28
   Bullet Camera (Model Number Cam-8B-651R-Wdrhp)
                                                                                                                                 3158021076840-28
   Network Camera (Model Number Cam-1Pm-1X-Dnp)
                                                                                                                                 3158021076840-28
   Network Camera (Model Number Cam-1Pm-5X-Dnp)
   ,----- ·-~--- ------ ~----- --
   Network Camera (Model Number Cam-lR-150)           -·-- __ _                                                                  3158021076840-28
                                                                                                                                 3158021076840-28
   Bullet IR Color Camera (Model Number Cam-6B-65IR]
   White Box Malled From Oh Aventura Tech Inc (Model Number                                                                      3158021076840-28
   1801004591) _________ _________ _________ __ -- _
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                                                                                                              3
   Weatherproof IR Camera (Model Number Cam-78-21I R-Wdrp)
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                                                           _____ -----·-·- - __ _____                         _5_______ _ _____ · - - ____ _
   Vandal Proof IR Dome (Model Number Cam-6D-36Dn-Vpp]
                                                                                                              5                 3158021076840-28
   Weatherproof IR Camera (Model Number Cam-218-49I R]                                                                        • ------·----- ·--
                                                                                 •• --·---                        • -·----
   Vandal proof IR Dome Camera (Model Number Cam-8B-65Dn- --                                                                    3158021076840-28
   Wdrhp)           _______ _____                                ,.. __                     ·----------- _:l __·--·--·---- ---------·- ---· ---·---··
   IR Bullet Camera (Model Number Cam-8B-21I R-Wdrhp] _______ ___ _ _____                      ________ 5 _______ 3158021076840-28
   Network Camera     (Model Number 1Pm-13D-29Vp  c)      _    _   ____ __ __    _ _ __  __     _ ___________ l __________ 3158021076840-28
   Network Camera (Model Number Cam-1Pm-2X5-Dnp)         _ __ __ __________             _______     -·- ___ !___________ 3158021076840-28
                             Number Cam-lP-5X:y>Jdr) ________     ,_    _  ___ ___    __ _  _ ____    __      5                 3158021076840-28
   ~etwo!.l<~!l_l~_ra (Model
                                                              __ ·- ________            ________       ___    ~--- · - - - - -  '3.~~210?.§!!iQ-2!!. ____ _
   IR Network Camera (Model Number Cam-1Pm·1Md-1Rvp)
   Vandal proof IR Dome Camera (Model Number Cam-7D-21IR-                                                                       3158021076840-28
   Wdrp)
   -~'--------------·-------
                                                                                                                                  3158021076840-28
   Vandalproof Mini PTZ Camera (Model Number Cam-4Z-10X] __ _
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   Vandal Proof Dome Camera (Model Number Cam-8D-65Dn-                                                 3158021076840 28
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   ~drh)    --------- ---------             -------·- -·------- ---·----- ---- ·- _______ 8 __ -·~·---
                                                                                                                                  3158021076840-28
    IR Network Camera (Model Number Cam-1Pm-2D5-2IP-1Rvp)
    IR Color Corner Mount Camera (Model Number Cam-5C-30IR:··                                      3158021076840-28
   Ev)                                             ·----- ________ -------·- ---- ~-·- -·-------
   Side View Camera (Model Number Cam-8M-36Dn-Mbl)      _    _ _ _ _ _____________ ~ - - - - - - - 3158021076840-28
                                                                                   5               3158021076840-28
   Box In One Camera (Model Number Cam-7X-Wdrp)
                                                                                                   3158021076840-28
   P½.sticDom~ Camera (Model Num~er Cam-4D-38D  nr-·=-    --
                                                                                                                                  3158021076840-28
                                                                    ._                                        1
    Speed Dome_Came.ra (Model Numbercam-1Pm-1Z-20X-IR) _
                                                                                                                                  3158021076840-28
    Speed Dome Camera (Model Number Cam-1Pm-8Za-36X-IR]                                                       1
                                                                                                              5                   3158021076840-28
    /\larm Box (Model Number Vld Alarm-8Ch-Com) --·-·- ___ _
                                                                                                              11                  3158021076840-28
    Network Camera (Model Number Cam-1Pm-13X-Dnpc) ______ _
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   !!_l Camera J:lousing (Model NumberCam-Hs-lRl-100)
   8Mp Vari-Focal Bullet Motorized 3.3-12Mm (Model Number                                                                      3158021076840-29
   Cam-1Pr-8B-212M-IR)
                                                                                                                                            _
   5 Mp Ahd Vandal Dome Manual 2.812Mm (Model Number                                                                           3158021076840 30
   Cam-Ahy-5D-_212V-1Rvp)   ________ ________ ________ ________ _____ --~_Q__________ _
   6 Mp Vp Dome IR Camera (Model Number Cam-1Pe-5D-310V-
   1Rvp) - - - - - - - - ·-·-·--·-··-- ·-··--·--·-- --··-··- - - - · - - · - · - · · · - - - - - -
                                                                                                   ·- .!2_          ___ ....

                                                                                             1_8__________ __________ ________ _
   2 Mp Mini Dome 3.6 Mm (Model Number Cam-1Pr-2D-3F-1Rvp) ___ . ··-··- _ ··- __________ ___
   1.3 Mp Mini Bullet IR Camera (Model Number Cam-:iPe-1B-3F-
   IR) -·--•.•-- --·-·-·-·· ·--·----- --------- __________ --··-· _ _ __
   360* Fish eye Dome 5 Mp 1,1 Mm Lens (Model Number Cam-
   1Pr-5D-Fp)                                                                                41
   2 Mp Vp Dome IR Camera (Model Number Cam-1Pe-2D-622V
                                                                                                               15
   IRvp) -------·--··- -·····-·--·- __________ ____ _
   2.0 Mp Vp Mini Dome Camera (Model Number Cam-1Ps-2B-
                                                                                                               17
   212V-IR) ___ ____________ ., ________________________ _

   1.3 Mp Bullet IR Camera (Model Number Cam-1Ps-1B-212V-IR~ 1                                                 6
   Vandal proof IR Dome Camera (Model Number Cam-Ahd-2D-
                                                                                                               10
   212V-1Rvp) _ ______ ____ _       ···------- ______ _

                                                                                               ~- .. _______ ... __________________ _
   2 Mp Bullet IR Camera (Model ~_umber Cam-1Pe-2B-622M-IR)_ _ __________ ···--- --------•-···
   2 Mp Vp Mini Dome IR Camera   (Model Number Cam-1Pe-2D-3F-
   1Rvp)___                                                   _ ---•---•- ___________ _____ 47 ___ _
   Vandalproof IR Dome Camera (Model Number Cam-A960-700D
                                                                                           __ 1 ________ ________ ______ _
   212V-1Rvp) -•-------- ---------- ----···-- __________ __________ __________

                                                                                                               1______ _
   5 Mp Smafl Bullet 3.6 Mm (Model Number Cam-1Pr-5B-3F-IR) _________ _________ _______

                                                                                                            _! _________ _ ····----------- -·--·· _____ _
   3 Mp Minl_Bullet IR Camera (Model Number Cam~f-~-3B-3F-IR). _ _____________ __________
                                                                                                            1
   5 Mp Box Camera (Model Number Cam-1Pr-5X)
   4KBoxCamera (Model Number Cam•IP!:§X) ---·=---~ -- - - -- - - • • --_-
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                                                                                 ___-___-__-__ -__ -__-_-


   4 Mp Mini Dome3.6 Mm (Model Number Cam-1Pr-4D-3F-1Rvp).                                                     1
   3.0 Mp Vp Mini Dome IRCamera (Model Number Cam-1Pe-3D
   6F-1Rvp)                                                                                                    1
   1.3 Mp Vp Mini Dome IR Camera (Model Number Cam-lPe-10
   6F-1Rvp)               _________ _________ _                                                                1
   2 Mp Vp Dome IR Camera (Model Number Cam-1Pe-20-212V
   IRvp)   .. _       .                        .       __
   2 Mp Vp Mini Dome IR Camera (Model Number Cam-1Pe-2D-3F-
                                                                                                               2
   1Rvp) ···-··-···-·· -----··-· - .. ---·-·--··--·-· ···· ·-- ....
                                                                                                               1
   IR Weatherproof Camera (Model Number Cam-Ahd-2B-3F-IR} _,
   2 MpVii Mini Dome IR Camera (Model Number Cam-1Pe-2D-3F-                 -   ·- ··-- ------- ••• ---------- - ---·- -
                                                                                            1
   IRvp)                                                                                    •• --- · · - - - --                    -·----·---.
   2 Mp Vp Mini Dome IR Camera (Model Number Cam-1Pe-20·2F- - - - - - - - - ------ -------·

                                    ·····-···------ --·--· _________ .. ___ --··-·--·        ____ -····----- ~--•----- -·        ________ ______ _
   IRvp) ___ __ ___________
                                                                                                                               3158021076840-31

                                                                                                 3158021076840 32
                                                                                 _16_8 _________              •
   4 Mp Mini Dome 3.6 Mm (Model Number Cam-1Pr-4D-3F-lvrp) ·-··· -------
                                                              ______ ______      90
                                                                            ______ _________     315802107  6840~~---·
   5 Mp Box Camera (Model Number    Cam-lPe-SX)
   8 Mp-Vandal Dome Motorized 3.3-12Mm (Model Number Cam-                                        3158021076840-33
   1Pr-8D-212M-1Rvp)
   i Mp Box Camera (Mocie!Nuffib~-ream·:ipe~2·X) "" ·-·-----•-                                   3158021076840-33
    s Mp Vari-Focal Bullet Motorized 2.8-12Mm (Model Number                                                                    3158021076840-33
    Cam-1Pr-5B-212M-IR)                                _ ---- ··--·- __ _
    2 Mp Vandal Dome Manual 2.8-12Mm (Model Number Cam-lPr                                                                     3158021076840-34
    2D-212V-1Rvp)
    3 Mp Box Camera (Model Number Cam-1Pe-3X)                                                             98 - - - - - 3158021076840-34
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   5 Mp Vandel Dorne Motorized (Model Number Carn-f Pr-5D-                                                      3158021076840-35
                                      _____                       ___________ _ _              363
   212M-IRvp)
                                                                                                21 ________ 3158021076840-36
   2Mp Starllte Bullet (Model Number Carn-f Pr-2B-212M-IR) ___ __ _________ ___ ___ _ ________
                                                                                                                3158021076840-36
   5Mp Ahd Bullet Manual (Model Number Carn-Ahy-5B-212V-IR)
   2Mp Vari Focal Bullet 2.8Mrn 12Mrn (Model Number Carn-IPr-                                                   3158021076840-36
                                                                                                12
   2B-212V-IR) _________ _________ _________ ____ ,_____ _ _
                                                                                                                3158021076840-36
                                                                                               153
   2Mp Small Bullett 3.6Mrn (Model Number Carn IPr-2B·3F IR)                                -- ---- -·---------- --------- --~------~--- ----
                                                                                                     ·----•--'-•



   2Mp Strarllght Bullett 2.6Mrn (Model Number Carn-IPr-2B5-3F                                                  3158021076840-36
                                                                                                29
   IR) _______ _______ _______ _______ _______ __ _
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                                                                                          6
   2Mp Ahd Mino Bullett 3.6 (Model Number Carn-Ahy-2B-3F-IR)
   BodyCarnera (Model Number Adventura Guardian) _ ----- ~~- =--=~-~~-=- -~~==-==--~ =--~ - ----                                            3158021076840-36
                                                                                                                                                        ------- ----
                                                                                                                                            3158021076840-37
   IR Dome Camera (Model Number Cam-A960-700D-212V-1Rvp)                                                           137
   3Mp Vp Dome 1R Camera (Model Number Cam-lP~-3D~12V- - - --                                                                               3158021076840-37
   1Rvp)
   360Fi;heye Dome 8Mp 2Mm Lens (Model Number-C8nJ-1pf-=aD- --- -------- ----- ---                                3158021076840-37
   Fp)                                                        ---------- -- ---------- --- ~~--- - - - -- --- -------------- -----
                                                                                                                                   _
   2Mp Starlight Vandal Motorized (Model Number Cam-IPr-2D·                                                       3158021076840 37
                                  ______     __    _________   _ __________ __________   ______ 21__________ __________ _____ _
   212M-IRvp)
   1.3Mp[ Vp Dome IR Camera (Model Number Cam-lPe-ld-212-                                                         3158021076840-37
                                                                                                18
   IRvp) _____ ________ __ __ ______ ____ _________ _______________________ _
                                                                                                                  3158021076840-37
   360 Fisheye Dome 5Mp 1.1Mm Lens (Model Number Cam IPr)
                                                                                                1
   IR Camera (Model Number Cam 6B 65 IR)                     _________ _________ ______ _! ____________ ~1_~0__2~_()?_~~~_()_:§~ _
   2 Mp Vari-Focal Bullet 2.8-12Mm (Model Number Cam-IPe-2B-                                                      31580210760840-55
                                                                                                280
   212V-IR)                                                                                               - - - - --        ----- - - -
   X-Ray Baggage ScannerW/Accessories (#34-12) (Model         ---- - - --- ----- - ---- --- - - - - - - -

   Number 2401612011)                        _________ _________ _________ ______ !__________ 3158021076840-38
                                                -----,------------                              1                 3158021076840-39
   Alarm Desk Console (Carton Number 34-15)
                       (Model  Number 34-13)                                                                      3158021076840-40
   Alarm Desk  Console                                                                                   - - - - --------~------ -•-----
   Peli~~n-Ba-x With Case Organizer, Uvis W/Manua1~2--- ·-------.       -~-   -
                                                                              -------~------
                                                                                                                    1                       3158021076840-41
   Thumbdrives (Red/Purple)                                                                                                                    -------- - ------- --
   Portable Walk Through Detector (Model N~mber Md-Wt-Ptb-               -              -       ---        -- - --- ---- --
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   ~rtable Walk Through Detector-(M-od_e_l_N_u_m-ber Md-Wt-Ptb·
                                                                                                                   1                        3158021076840-43
   24)
   Minet Qc (Model Number Rac-42U-Cab-800)                          -         ---------=- --====== =- [ = - - - - - - - 3158021076840-44
                                                                                                            1             3158021076840-45
   Cabinet Qc {Model Number Rac-42U-Cab-800)
   Cabinet Qc (Model Number Rac-42U-Cab-800)             --------- ---- - - - ---- ---- -- - _ ----------- -1 - - -- ---- 3158021076840-46
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                                                                                           I~
   16 Ch H.264 DVR lhdd (Model Number Dhe-16·18IP)                                                                                        --
   8 Ch H.265 DVR 1Hdd (Model Number Dhe-08D-04IP)   ----- -- ------------ ---    -        )1     -            3158021076840 9                            -4_



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   16 Ch H.265 DVR 2Hdd (Model Number Dhe-16Pu8IP)
                                                      ----- ~====== ===------ ---118                           3158021076840-49
   PTZ Camera Network (Model Nurnber721K25D-Ks )

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    IR Speed Dome (Model NumberCam-lPm·12-20X-IR)      __________        __________  _ _
                                                                            ____               -      11                       3158021076840-49                  -
    Network Camera (Model Number Ds-2CD2D14Wd)
                                      Cam-6Z-10Xp)    ________ -- --=-=_:_   _________ - - ________     1 ___________        - 315802107684          0-49
    5Mm IR Camera Lens (Model Number
                                                                                                        ~ __________ 3158021076840-49
    Network Camera (Model NumberVld-Vbh-16P-RJ45) __________ __________ __________ ___
                                        h-16P)     ____________   _____ _ ________  ____________   __                          3158021076840-49
    Network Camera (Model NumberVld-Vb
    Network Camer_a (Model Number Carn Ptz-Kb-01M)                _________ _________ ____ !_ ________ 3158021076840-49

                                                                                                                   1                        3158021076840-50
    Uvls, Not In A Box, Broken (Model Number No Part Number)                                                       "~-   -----•·-•-v~   -   -•-----•-•••-•--~-




    2.0 Mp Vp Mini Dorne IR Camera (GSA Container)
                                                                                                                   18                       3158021076840-51
    (Model Number Carn-IPs-2B-3F-IR) ______ _
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   2·Mp Mini Bullet-lRC~ era 3.6Mm {GSA Contain;r )- -· - ----
                                                                                                 23 - - - - 3158021076840-51
   _(_f:'lodel Number Cam-lP-2B-3F-IR) _____________________ _

   Alarm Desk Conso_le~ (~/13_4_-_ 13~)-~-----~                            _______ _______ !___ ________ 3158021076840-52
   Single Turnstile (Model Number Trimble Crewlane)- ---=~~-=~-  ~-------   ______________________ 1,_ ___ __      3158021076840-53
                                                                                   ------, --.1_____ _ 13158021076840-54
   Double Turnstile (Model Number Trimble Crewlane) ______ --+---- -------
                                                                 Tghu8560 60                        1              33160193181308-1
   Conex Shipping Container ________ _______ ___
                                                                 Gatu859298 0/Gatu8592610 _ _ _    1               33160193181308-2
   Conex Shipping Container
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   Con ex Shipping Container _- ___ -· __ -_ •
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   Conex Shipping Container ________ ________ ____
